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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA



 DENISE WINDSAY                                                CIVIL ACTION

 VERSUS                                                        NO. 20-1155

 UNITED STATES OF AMERICA                                      SECTION: M (3)

                                      SCHEDULING ORDER

       A Scheduling Conference was held by telephone on December 9, 2020 before Case

Manager, Cherie Charles. Participating were:

       For Plaintiff:
       Casey DeReus

       For Defendant:
       Jason Bigelow

       Pleadings have been completed. Jurisdiction and venue are established.

       The deadline to amendments to pleadings, third-party actions, crossclaims, and

counterclaims has passed. Counsel adding new parties subsequent to the mailing of this Order

shall serve on each new party a copy of this Order. Responsive pleadings, when required, shall be

filed within the applicable delays.

       All pretrial motions, including dispositive motions and motions in limine regarding the

admissibility of expert testimony, shall be filed and served in sufficient time to permit hearing

thereon no later than June 17, 2021. This Section adheres to Local Rule 78.1 regarding oral

argument on motions. All other motions in limine shall be filed by July 23, 2021 and responses

thereto shall be filed by July 30, 2021.
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       Motions for summary judgment and oppositions to motions for summary judgment shall

be filed in compliance with Local Rules 56.1 and 56.2, requiring parties to file a short and concise

statement of materials facts as to which there does or does not exist a genuine issue to be tried.

Additionally, each party shall make specific reference to record evidence supporting its statement

of material facts. Citations to record evidence shall indicate, whenever applicable, an exhibit

reference, page reference, and record document number reference.              Record evidence not

specifically referred to by the parties may not be considered by the Court.

       Motions filed in violation of this Order will not be considered unless good cause is shown.

       This case does not involve extensive documentary evidence, depositions, or other

discovery. No special discovery limitations beyond those established in the Federal Rules or Local

Rules of this Court are established.

       Counsel shall deliver a hard copy of any pleadings along with any exhibits and attachments

that together exceed 100 pages in total length to chambers at 500 Poydras Street, Room C-367 for

the Court’s use. This copy must be delivered to chambers at the time of CM/ECF filing. This

copy must be in a three-ring binder, tabbed, and reflect pagination and document numbers

consistent with the electronic document stamping of CM/ECF.

       Counsel shall complete all disclosure of information as follows:

       Initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1) have been

completed.

       Depositions for trial use shall be taken and all discovery shall be completed no later than

July 16, 2021.     The parties should only submit pertinent pages of deposition transcripts.

Submission of an entire transcript is strongly discouraged.
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        The deadline for plaintiff’s expert disclosures has passed. This deadline applies to all

experts, as defined by Federal Rule of Civil Procedure 26(a)(2)(B) and (C), who may be witnesses

for Plaintiff.

        The deadline for defendant’s expert disclosures has passed. This deadline applies to all

experts, as defined by Federal Rule of Civil Procedure 26(a)(2)(B) and (C), who may be witnesses

for Defendant.

        Counsel for the parties shall file in the record and serve upon their opponents a list of all

witnesses who may or will be called to testify at trial, including the address of each witness. Each

party shall designate those witnesses whose testimony the party expects to present by deposition

and provide their opponents with a transcript of the pertinent parts of the deposition. The parties

should provide pertinent pages of deposition transcripts; provision of the entire transcript is

strongly discouraged. Additionally, each party shall identify the documents or exhibits the party

may or will use at trial, separately identifying those items the party expects to offer and those it

may offer if the need arises. The deadline for filing these disclosures has passed.

        The Court will not permit any witness, expert or fact, to testify or any exhibits to be used

unless there has been compliance with this Order as it pertains to the witness and/or exhibits,

without an order to do so issued on motion for good cause shown.

        The parties are encouraged to discuss settlement possibilities. A settlement conference

will be scheduled at any time at the request of any party to this action. However, the parties must

attend a settlement conference with the assigned magistrate judge. The parties must contact the

assigned magistrate judge six weeks prior to the pretrial conference date for the purpose of

scheduling a settlement conference which should be held within two weeks prior to the pretrial

conference.
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       A final pretrial conference will be held before the District Judge on July 27, 2021 at 2:30

p.m. Counsel will be prepared in accordance with the Pretrial Notice attached.

       Trial will commence on August 16, 2021 at 9:00 a.m. before the District Judge without

a jury. Attorneys are instructed to report for trial no later than 30 minutes prior to this time. Trial

is estimated to last 3 days.

       Deadlines, cut-off dates, or other limits fixed herein may only be extended by the Court

upon timely motion filed in compliance with the Local Rules and upon a showing of good cause.

Continuances will not normally be granted. If, however, a continuance is granted, deadlines and

cut-off dates will be extended automatically, unless otherwise ordered by the Court.

       New Orleans, Louisiana, this 9th day of December, 2020.




                                               _______________________________________
                                               BARRY W. ASHE
                                               UNITED STATES DISTRICT JUDGE
